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                      EXHIBIT 2
To:      Joe Alala III[JAlala@capitalagroup.com]
From:                  Case 3:18-cv-01023-MPS Document 352-2 Filed 09/30/21 Page 2 of 3
         Casey Swercheck[Casey@capitalagroup.com]
Sent:    Mon 12/7/2015 6:44:30 PM (UTC-05:00)
Subject: FW: Placement Agents
Placement Agent Search.xlsx

Status update

Casey Swercheck
Vice President - Fort Lauderdale Office
CapitalSouth Partners & Capitala Finance Group
Casey@capitalagroup.com
(O) 954.848.2860
(M) 215.796.8410


-----Original Message-----
From: Casey Swercheck
Sent: Monday, December 07, 2015 6:44 PM
To: Richard Wheelahan
Subject: RE: Placement Agents

Richard, attached is the list. As I said, most have been intrigued by our track record, cohesiveness of team / strategy, and
regional differentiation. I've told Joe my thoughts on the big groups (his names on this list) vs the boutiques - I think this is
boutique all the way. We can discuss more on Thursday. The ones I'm most excited about at the moment based on intro calls
are Evercore, M2O, and SixPoint, but I'm very interested in connecting with Pinnacle, CrossBay & Mercury based on prior
experience

I'm pushing through as many of these calls as I can, I have two more tomorrow. At least the ones who aren't interested are
quick to kill it

Let me know if any questions

Casey Swercheck
Vice President - Fort Lauderdale Office CapitalSouth Partners & Capitala Finance Group Casey@capitalagroup.com
(O) 954.848.2860
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-----Original Message-----
From: Richard Wheelahan
Sent: Monday, December 07, 2015 3:55 PM
To: Casey Swercheck
Subject: Placement Agents

When you have a moment would you mind sending me our tracker and what feedback has been, generally?

Sent from my iPhone




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               A                  B                                                   C                                                         D                                                                                               E
1    Placement Agent          CPTA Owner   Last conversation                                                                       Contact                     Notes
2    UBS                      Joe
3    Eaton                    Joe
4    Credit Suisse            Joe
5    Capstone                 Casey        11/16 ‐ sent deck, setting a call                                                       Brian DeFee
6    CrossPoint Capital       Casey        12/1 ‐ sent intro email with 2Q investor presentation                                   John Frontero
7    Lazard                   Casey        12/1 ‐ declined                                                                         Will Osborn / Bill Riddle   made intro to Pinnacle
8    Atlantic Pacific Capital Casey        11/16 ‐ sent deck, setting a call; bringing Falcon to market                            Peter Larsen
9    Berchwood Partners       Casey        11/18 ‐ sent materials, had intro call; 2nd call on 12/3                                Bill Zwart                  Looking at a number of credit funds, learning space, talking to LPs on expectations; wants to reconnect mid‐January 2016
10   Ineo Capital             Casey        11/20 ‐ intro call, 12/16 intro meeting                                                 Mark Sirinyan
11   Shannon Advisors         Casey        11/30 ‐ declined                                                                        Tim Gara                    intro call with Tim Gara; he passed due to lack of credit experience
12   Sandler O'Neill          Richard      12/1 ‐ Richard to reach out
13   Pinnacle Advisors        Casey        12/1 ‐ Casey reached out by email; scheduling call with Attilio                         Attilio Albani ‐ CT            Credit experience, great relationships with insurance companies; raised money for AMP Capital, NewStone Capital Partners, Northstar Mezzanine
14   Jeffries                 Joe          12/2 ‐ email with Andrea, she's connecting with team on 12/3                            Kelli Roiter; Joe's email is AnLouis suggested; focused on buyouts
15   Sixpoint Partners        Casey        12/1 ‐ Casey reached out by email; intro call 12/4; sent materials                      Eric Zoller                    Good track record in credit, have interest, sent materials and will circle back
16   Mercury Capital          Casey        12/1 ‐ Casey reached out by email; setting intro call week of 12/14                     Alan Pardee, Tom Ryan          Louis suggested
17   CrossBay Capital         Casey        12/1 ‐ Casey reached out by email                                                       Joseph Sindelar                Will / Lazard suggested; great credit experience, SBIC funds, know a lot of insurance companies
18   Equus                    Casey        Declined but made intro to Joe Sindelar / CrossBay                                      Darryl Glatthorn               Will / Lazard suggested
19   Park Hill Group          Casey        12/1 ‐ Casey reached out by email                                                       Joe Herman                     Worked with at HL, tier 1 group
20   Moelis & Co              Casey        12/1 ‐ Casey reached out by email; sent follow‐up 12/7                                  Patrick Dunleavy               Louis suggested; Greenhill spinout
21   Greenhill                Casey        12/1 ‐ Casey reached out by email; sent follow‐up 12/7                                  Stephen Sloan                  Louis suggested
22   Evercore                 Casey        12/2 ‐ intro call, sent book                                                            James Swindell                 Louis suggested; Lehman spinout
23   M2O Private Fund AdvisorCasey         12/4 ‐ intro call, snet book, call late following week                                  Mark Hallock                   Comvest used M2O; raised Maranon's fund; spun out of Jeffries; suggested separate account (placed $500mm credit separate account recently)
24   Edgeline                 Casey        12/7 ‐ intro call                                                                       Joe Silver, Tamara Christian Louis suggested
25   NovaFund Advisors        Casey        12/1 ‐ Casey reached out by email; sent follow‐up 12/7                                  Brian Kelly                    Louis suggested; raised Monroe SLF
26   Bonnie Plunkett          Joe          12/4 ‐ intro call; Bonnie is one‐off introduction broker dealer; follow up call 12/14   Bonnie Plunkett                Talking to NC state pension, others ‐ intro source
27   RaceRock Capital         Casey        12/14 ‐ intro call week of 12/14                                                        Laura Moore                    More experience in hedge funds but some private credit funds as well




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